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                   IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

UNITED STATES OF AMERICA                      )        CR. NO.-2:21-cr-788
                                                                  --
                                              )
              V.                              )        18 u.s.c. § 371
                                              )        18 U.S.C. § 981(a)( l )(C)
CHARLES WILLYS MINCEY, JR.                    )        28 U.S.C. § 2461(c)
                                              )
       a/k/a Charles Willis Mincey            )               INFORMATION
       a/k/a Chuck Mincey                     )


THE U.S. ATTORNEY CHARGES:

                                           COUNT 1

                                       BACKGROUND

1.    At all times relevant to this Information:

      a.     Federal Home Loan Bank of Atlanta ("FHLBA") is a cooperative bank regulated

      by the Federal Housing Finance Agency that offers community development grants to help

      member financial institutions provide economic development credit to neighborhoods and

      communities. FHLBA is one of 11 regional banks in the Federal Home Loan Bank System,

      which raises funds in the global financial markets and distributes the proceeds to members

      and local communities.     FHLBA' s Affordable Housing Program (AHP) is one of the

      largest sources of private sector grants for housing and community development in the

      nation. This grant program encourages member financial institutions to partner with local

      housing providers (sponsors) to secure funds for the purchase, construction or

      rehabilitation of affordable owner-occupied or rental housing units. Projects serve low-to­

      moderate income households, and may include households with special needs including


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